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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

JANE DOE,

       Plaintiff,

       v.
                                                      Civil Action No. 1:17-CV-12255-RGS
MASSACHUSETTS DEPARTMENT OF
CORRECTION; THOMAS A. TURCO III;
SEAN MEDEIROS; JAMES M. O’GARA JR.;
and STEPHANIE COLLINS,

       Defendants.


                            ASSENTED TO MOTION FOR
                    WRIT OF HABEAS CORPUS AD TESTIFICANDUM

       Plaintiff Jane Doe moves this Honorable Court, pursuant to the authority of 28 U.S.C.

§ 2241(c)(5) and Fed. R. Civ. P. 81(a)(4), and respectfully states as follows:

   (1) Now pending before this Court is Ms. Doe’s Opposition to the Motion to Dismiss and

       Motion for Preliminary Injunctive relief, both in the above captioned case;

   (2) Ms. Doe’s presence and potential testimony is material and necessary to a just and fair

       hearing regarding Ms. Doe’s Opposition to the Motion to Dismiss and Motion for

       Preliminary Injunctive relief;

   (3) Ms. Doe must be able to consult with her attorneys in real time during this hearing on

       such dispositive motions;

   (4) Specifically, the preliminary injunction motion is fact-intensive and there may be a need

       for real-time input from Ms. Doe;

   (5) Ms. Doe’s appearance in court will enable the Court to see, based upon her physical

       appearance and characteristics, the indignity and debasement she suffers in a men’s

       correctional facility and that she is extremely vulnerable to sexualized harassment and
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       abuse;

   (6) Ms. Doe is presently confined in the Norfolk Correctional Center in Norfolk,

       Massachusetts (“MCI Norfolk”); and

   (7) The aforementioned hearing is set before this Court on February 28, 2018 at 2:30 p.m..

   For the above mentioned reasons, Ms. Doe requests that this Court issue a Writ of Habeus

Corpus Ad Testificandum to Sean Medeiros, the Superintendent of MCI Norfolk, to bring Ms.

Doe before this Court on February 28 at 2:30 p.m..

   (8) Defendants have assented to this Motion, and to Ms. Doe’s appearance in Court.

   (9) A copy of the proposed order is attached hereto.


                                                     Respectfully submitted,

                                                     Plaintiff Jane Doe, By Her Attorneys


                                                          /s/ J. Anthony Downs________
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Dated: February 16, 2018




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),
and paper copies will be sent to those indicated as non-registered participants on February 16,
2018.

                                                              /s/ J. Anthony Downs




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